                                          Case 5:19-cv-02520-LHK Document 83 Filed 06/28/19 Page 1 of 2




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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                              SAN JOSE DIVISION
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                                  12     CONTINENTAL AUTOMOTIVE                              Case No. 19-CV-02520-LHK
Northern District of California
 United States District Court




                                         SYSTEMS, INC.,
                                  13                                                         ORDER STRIKING FIRST AMENDED
                                                        Plaintiff,
                                                                                             COMPLAINT AS UNTIMELY
                                  14
                                                 v.
                                  15
                                         AVANCI, LLC, et al.,
                                  16
                                                        Defendants.
                                  17

                                  18          On May 10, 2019, Plaintiff filed its original complaint. ECF No. 1. On June 20, 2019,
                                  19   Plaintiff filed a first amended complaint. ECF No. 62. However, pursuant to Federal Rule of Civil
                                  20   Procedure 15(a)(1), a party may amend its pleading once as a matter of course within 21 days of
                                  21   serving the pleading. Plaintiff’s first amended complaint was filed well after 21 days after the
                                  22   original complaint was served on various Defendants. Thus, pursuant to Federal Rule of Civil
                                  23   Procedure 15(a)(2), Plaintiff may amend its complaint by stipulation of all the parties or with
                                  24   leave of the Court. Plaintiff unilaterally amended its complaint without stipulation of all the parties
                                  25   or leave of the Court.
                                  26          Thus, the Court hereby STRIKES the first amended complaint as untimely. If Plaintiff
                                  27   wishes to amend its original complaint, Plaintiff shall do so in compliance with the Federal Rules
                                  28                                                     1
                                       Case No. 19-CV-02520-LHK
                                       ORDER STRIKING FIRST AMENDED COMPLAINT AS UNTIMELY
                                          Case 5:19-cv-02520-LHK Document 83 Filed 06/28/19 Page 2 of 2




                                   1   of Civil Procedure.

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                                   3   IT IS SO ORDERED.

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                                   5   Dated: June 28, 2019

                                   6                                         ______________________________________
                                                                             LUCY H. KOH
                                   7                                         United States District Judge
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Northern District of California
 United States District Court




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                                       Case No. 19-CV-02520-LHK
                                       ORDER STRIKING FIRST AMENDED COMPLAINT AS UNTIMELY
